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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA


JOHN DOE,                                      :
                     Plaintiff,                :
                                               :
          v.                                   :      Civ. No. 18-2044
                                               :
ST. JOSEPH’S UNIVERSITY, et al.,               :
                 Defendants.                   :

                                         ORDER

       AND NOW, this 10th day of September, 2018, it is hereby ORDERED that all deadlines

in the Scheduling Order of June 13, 2018 (Doc. No. 15) are stayed pending ruling on dispositive

motions as set out in my September 4, 2018 Order (Doc. No. 43).


                                                          AND IT IS SO ORDERED.

                                                          /s/ Paul S. Diamond
                                                          _________________________
                                                          Paul S. Diamond, J.
